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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 NATIONAL CHICKEN COUNCIL, et al.,

           Plaintiffs,

      v.                                                 No. 4:24-cv-03786

 BROOKE ROLLINS, in her official capacity
 as SECRETARY OF AGRICULTURE, et al.,

           Defendants.


              DEFENDANTS’ OPPOSITION TO MOTION TO INTERVENE
                                         INTRODUCTION

        This case is brought by National Chicken Council, Meat Institute, Southwest Meat

Association, and Texas Broiler Council (together, “Plaintiffs”)—four national, nonprofit trade

associations representing “live poultry dealers” or “packers”—to challenge the U.S. Department of

Agriculture’s Agricultural Marketing Service’s (“AMS”) final rule, Inclusive Competition and Market

Integrity under the Packer and Stockyards Act, 89 Fed. Reg, 16,092 (Mar. 6, 2024) (the “Rule”). Plaintiffs

have brought a single count under the Administrative Procedure Act (“APA”), 5 U.S.C. § 700, et seq.,

arguing primarily that the Rule exceeds the relevant statutory authority. See generally Compl. ¶¶ 68-76,

ECF No. 1.

        Now, Ranchers Cattlemen Action Legal Fund United Stockgrowers of America, Western

Organization of Resource Councils, Alabama Contract Poultry Growers Association, and Latino

Farmers and Ranchers International (together, “Putative Intervenors”)—four organizations asserting

that they represent the interests of livestock and poultry producers—seek to intervene as defendants

either as of right under Federal Rule of Civil Procedure 24(a), or alternatively, permissibly under

Federal Rule of Civil Procedure Rule 24(b). Putative Intervenors contend that, as the Rule’s intended

beneficiaries, their interests may not be adequately represented by Defendants.


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        Putative Intervenor’s concerns are misplaced. Defendants have a strong interest in defending

the government’s legal authority to enact regulations. Courts are appropriately skeptical about the

“right” of anyone to intervene under such circumstances, and Fifth Circuit case law reflects that

skepticism in the form of two presumptions: (1) that government entities will adequately represent the

interests of potential intervenors, and (2) that a party with the same objectives as potential intervenors

will adequately represent the interests of potential intervenors. Putative Intervenors acknowledge these

presumptions, see Intervention Mot. at 13-14, ECF No. 38 (“Mot.), but cannot overcome them. To

warrant intervention as of right, Putative Intervenors must show an actual misalignment of interests,

not just a possibility of divergence. Their motion fails to demonstrate such a misalignment, and

accordingly, must be denied.

        Putative Intervenors’ request for permissive intervention should also be denied because their

interests are adequately represented, intervention would undermine the Department of Justice’s

control over government litigation, and intervention would not significantly contribute to the

resolution of this case.

                                           BACKGROUND

        On October 3, 2022, AMS published a proposed rule amending the regulations implementing

the Packers and Stockyards Act. 89 Fed. Reg. 16,092. AMS solicited comments on the proposed rule

for an initial period of 60 days, and another extended period of an additional 45 days. Id. On March

6, 2024, after considering public comments, AMS issued a final rule, Inclusive Competition and Market

Integrity under the Packer and Stockyards Act, 89 Fed. Reg, 16,092 (Mar. 6, 2024).

        Plaintiffs filed suit in October 2024 challenging the Rule under the APA. See Compl., ECF

No. 1. In particular, Plaintiffs allege that the Rule exceeds the relevant statutory authority, violates the

major-questions doctrine, and is arbitrary and capricious. See id. ¶¶ 68-76.

        The proceedings are still in early stages. In December, the parties conferred and determined

that the case was “suitable for resolution based on the complete administrative record and cross-

motions for summary judgment.” Joint Mot. for Briefing Schedule at 1, ECF No. 26. They proposed

a schedule for summary-judgment briefing, which the Court adopted. See Order Setting Briefing

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Schedule, ECF No. 30. Following a change in Presidential administration in January 2025, with

Plaintiffs’ consent, Defendants moved for a 60-day stay of the briefing schedule to evaluate their

position in this case and determine how best to proceed. See Defs.’ Consent Mot. for Stay of Briefing

Schedule, ECF No. 32. While that motion was pending, per the briefing schedule, Defendants

produced the complete administrative record to Plaintiffs. The Court granted Defendants’ stay

motion. See Order on Defs.’ Consent Mot. for Stay of Briefing Schedule, ECF No. 36. Putative

Intervenors filed their motion for intervention on April 1, see Mot., and the parties filed a joint status

report on April 11 proposing that the intervention motion be resolved before any merits briefing, see

Joint Status Report, ECF No. 42.

                                            ARGUMENT

  I.     The Court should deny Putative Intervenors’ motion for intervention as of right.

         To support a motion for intervention as of right under Federal Rule of Civil Procedure 24, a

movant must establish four elements: (1) the motion for intervention is timely; (2) the movant has an

interest relating to the property or transaction which is the subject of the action; (3) the movant is

situated so that the disposition of the action may, as a practical matter, impair or impede its ability to

protect that interest; and (4) the movant’s interest is inadequately representing by the existing parties

to the suit. Rotstain v. Mendez, 986 F.3d 931, 936-37 (5th Cir. 2021). “Failure to satisfy any one

requirement precludes intervention of right.” Haspel & Davis Milling & Planting Co., Ltd. v. Bd. of Levee

Comm’rs of Orleans Levee Dist., 493 F.3d 570, 578 (5th Cir. 2007).

         For purposes of the present motion only, Defendants assume Putative Intervenors satisfy the

first two requirements. The Court should reject Putative Intervenor’s motion, however, because they

have not established the remaining requirements, as they have not demonstrated that Defendants will

not adequately represent their interests, and they can vindicate some of their interests only in another

forum.

         A. Defendants will adequately represent Putative Intervenor’s interests.

         “The applicant has the burden of demonstrating inadequate representation[.]” Sierra Club v.

Espy, 18 F.3d 1202, 1207 (5th Cir. 1994). And “where the party whose representation is said to be

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inadequate is a governmental agency, a much stronger showing of inadequacy is required.” Hopwood v.

Texas, 21 F.3d 603, 605 (5th Cir. 1994); see also Tenn. Walking Horse Nat’l Celebration Ass’n v. U.S. Dep’t

of Agric. (“TWHNCA”), 2025 WL 747855, at *2 (N.D. Tex. Jan. 13, 2025) (same). The Fifth Circuit

has recognized two separate “presumptions of adequate representation,” both of which apply here.

See Edwards v. City of Houston, 78 F.3d 983, 1005 (5th Cir. 1996). One presumption arises when the

movant “has the same ultimate objective as a party to the lawsuit,” in which case the movant “must

show adversity of interest, collusion, or nonfeasance on the part of the existing party to overcome the

presumption.” Id. Another arises where an existing party is a “governmental body or officer charged

by law with representing the interests” of all its citizens. Id. In such a case, the movant similarly “must

show ‘that its interest is in fact different from that of the [government] and that the interest will not

be represented by [the government].’” Id. (quoting Hopwood, 21 F.3d at 605). Both presumptions apply

here, and Putative Intervenors have failed to rebut them.

        Putative Intervenors share the same ultimate objective as Defendants in this suit—namely,

establishing that the agency had the requisite statutory authority—and Defendants are federal

government officers representing federal government entities. Still, Putative Intervenors nevertheless

contend that because Defendants have stated they are “evaluat[ing] their position in this case,” they

are “contemplating a change of course,” and may not “fully defend” the Rule. Mot. at 14.

        As Defendants’ prior filings indicate, they are currently evaluating whether the Rule comports

with the new Administration’s policy objectives. See, e.g., Defs.’ Consent Mot. for Stay of Briefing

Schedule, ECF No. 32. Should the Administration decide to retain the Rule, the government will fully

defend it. The government has a strong interest in defending its policies as lawful. And the government

has a strong interest in avoiding the same “stare decisis effect of an adverse judgment” that concerns

Putative Intervenors. See Mot. at 13.

        Plaintiffs’ speculative allegations of what the government’s interests may be or what the

government may do here in the future do not suffice to overcome the presumption in favor of

adequate representation in this context. Compare id. at 14-15 (invoking speculative phrases like “may

not share,” “suggests,” “strongly signals,” “would render,” and “possibly reversing course”) with

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Louisiana v. Burgum, 132 F.4th 918, 923 (5th Cir. 2025) (“[A]lthough the secretarial order might lead to

a future shift in BOEM’s litigation that is adverse to API’s interest, that has not yet happened.”); League

of United Latin Am. Citizens, Council No. 4434 v. Clements (“LULAC 4434”), 884 F.2d 185, 189 (5th Cir.

1989) (concluding applicant must demonstrate “more than speculation as to the purported

inadequacy” to warrant permissive intervention); League of United Latin Am. Citizens v. Wilson

(“LULAC”), 131 F.3d 1297, 1307 (9th Cir. 1997) (“[T]he assertion that its interest might, either in

1998 or at some other unspecified time in the future, diverge from the interest of the [government] is

purely speculative, and does not justify intervention as a full-fledged party.”); Friends of the Earth v.

Haaland, 2022 WL 136763, at *5 (D.D.C. Jan. 15, 2022) (denying motion to intervene without

prejudice when court determined “any potential divergence of interests is too speculative . . . at this

time”). Putative Intervenors’ argument that Defendants’ representation “may” be inadequate, Mot. at

15, thus falls well short of the requisite showing that their interests are “in fact” different from

Defendants, Edwards, 78 F.3d at 1005.

        This stands in sharp contrast to Putative Intervenors’ cited cases, Brumfield v. Dodd, 749 F.3d

339 (5th Cir. 2014) and Texas v. United States, 805 F.3d 653 (5th Cir. 2015). In both of those cases, the

governmental defendants’ interests were not only broader than the proposed intervenor’s interests,

but were actually at odds with them. For instance, in Brumfield, the United States had sought to enjoin

Louisiana from awarding school vouchers in districts under desegregation orders. 749 F.3d at 346.

The Fifth Circuit held that parents whose children had received vouchers had a right to intervene as

defendants in the case. Id. The court reasoned that, while the parents’ “only concern [was] keeping

their vouchers,” “[t]he state ha[d] many interests [to balance] in th[e] case,” including maintaining “its

relationship with the federal government and with the courts that have continuing desegregation

jurisdiction.” Id. The court specifically noted, however, that the parents and the state had “stak[ed]

out . . . significantly different” positions in the case, with the intervening parents challenging the

jurisdiction of the district court while the state conceded it. Id.

        Likewise, in Texas, the Fifth Circuit found that individuals who were likely to receive grants of

deferred action had a right to intervene as defendants in a case brought by twenty-six states seeking

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to enjoin the United States and the Department of Homeland Security from implementing a deferred

action program. 805 F.3d at 655-56. The court did not merely rely on the fact that the proposed

intervenors had narrower interests than the United States, but also that they had “identif[ied] the

particular ways in which [their] divergent interests [had] impacted the litigation.” Id. at 663. The court

explained that “the Government has taken the position that the States may refuse to issue driver’s

licenses to deferred action recipients,” which was “directly adverse” to the putative intervenors, whose

interest “in working and providing for their families” made obtaining a driver’s license “beneficial.”

Id. Thus, in both cases, “[t]he lack of unity in all objectives, combined with real and legitimate

additional or contrary arguments” established a right to intervene. Id. (quoting Brumfield, 749 F.3d at

346).

        The concerns animating these decisions are not present here. Importantly, unlike in Brumfield

and Texas, Putative Intervenors and Defendants are not making “contrary” arguments—indeed, unlike

those cases, here, Defendants have yet to make any substantive arguments. See Mot. at 14 (“[T]he

Government has yet to file a responsive pleading or merits brief articulating its objective or

arguments.”). The lack of unity present in those cases therefore cannot even exist in this one given

the stage of proceedings. And there is no indication that Putative Intervenors and Defendants would

ever advance contrary arguments. Rather, it appears both Putative Intervenors and Defendants believe

that the APA challenge to the Rule lacks merit. See TWHNCA, 2025 WL 747855, at *2 (“No such

legal misalignment exists here, as both Defendants and [proposed intervenors] believe that the

challenges to the new rule lack merit.”). To the extent that Putative Intervenors wish to express their

interpretation of the relevant statutory authority, Defendants support Putative Intervenors acting as

amicus curiae to provide that perspective. But Defendants submit that Putative Intervenors have not

overcome the presumption of adequate representation here and do not have a right to intervene in

this case.

        To the extent that Putative Intervenors invoke historical differences between their policy

positions and those of the USDA, such differences are irrelevant for purposes of the present

intervention motion. See Mot. at 15-16. The question before the Court is whether Putative Intervenors

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and Defendants have divergent interests in the present lawsuit. See Texas, 805 F.3d at 662 (explaining

the Fifth Circuit had affirmed the denial of a motion to intervene where “the intervenors did not

connect the allegedly divergent interests with any concrete effects on the litigation” (emphasis added)). To

hold otherwise would effectively nullify Rule 24’s requirements in suits against the government

because, when considered beyond the scope of a particular lawsuit, private parties never stand in

precisely the same position as the government.

        Accordingly, Putative Intervenors have not overcome the presumption of adequate

representation here.

        B. Putative Intervenors can protect their interests in another forum.

        As stated, Defendants intend to defend the Rule’s legality, and thus, can adequately represent

Putative Intervenors’ interests in that regard. To the extent that Putative Intervenors’ motion reflects

their concern that Defendants might adopt a different policy than the one implemented by the Rule

via a separate rulemaking process, see, e.g., Mot. at 14 (expressing concern Defendants might not

“uphold the Rule”), Putative Intervenors can “protect [their] interests . . . through some other means,”

further supporting that intervention is “not appropriate.” Deus v. Allstate Ins. Co., 15 F.3d 506, 525-26

(5th Cir. 1994). As Putative Intervenors are aware, they can advocate for their policy preferences “by

engaging in the rulemaking process,” as they have already done. Mot. at 12. Agencies are entitled to

change their policy positions via the rulemaking process, Encino Motorcars, LLC v. Navarro, 579 U.S.

211, 221 (2016) (“Agencies are free to change their existing policies[.]”), and Putative Intervenors’

participation in this lawsuit would not “defend[] their gains during the [previous] regulatory process,”

Mot. at 13, from further regulatory change, as defeating an APA challenge to an existing regulation

does not bar the promulgation of a new one. Accordingly, Putative Intervenor’s interests in this vein

can be protected only through participation in another forum.

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        Because Putative Intervenors have not demonstrated a right to intervene, their motion for

intervention as of right must be denied.



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 II.    This Court should also decline to permit permissive intervention.

        The Court should also deny Putative Intervenors’ request for permissive intervention. A court

may grant permissive intervention pursuant to Rule 24(b)(1)(B) when: “(1) timely application is made

by the intervenor, (2) the intervenor’s claim or defense and the main action have a question of law or

fact in common, and (3) intervention will not unduly delay or prejudice the adjudication of the rights

of the original parties.” Texas v. United States, 2021 WL 411441, at *1 (S.D. Tex. Feb. 6, 2021) (quoting

LULAC 4434, 884 F.2d at 189 n.2). In resolving a request for permissive intervention, courts also

consider, inter alia, “whether the intervenors’ interests are adequately represented by other parties”;

“whether they ‘will significantly contribute to full development of the underlying factual issues in the

suit’”; and “[t]he effect [of intervention] on the existing parties.” New Orleans Pub. Serv., Inc. v. United

Gas Pipe Line Co. (“NOPSI”), 732 F.2d 452, 472-73 (5th Cir. 1984) (citation omitted). “Permissive

intervention is ‘wholly discretionary’ and may be denied even when the requirements of Rule 24(b)

are satisfied.” Turner v. Cincinnati Ins. Co., 9 F.4th 300, 317 (5th Cir. 2021) (citation omitted).

        Permissive intervention should be denied for the same reasons that Putative Intervenors

cannot intervene as of right. As explained above, Defendants will adequately represent Putative

Intervenors’ interests in this lawsuit, namely “defend[ing] against a challenge to [a] regulation” that

benefits them. Mot. at 11; supra pp. 4-7.

        Permissive intervention should also be denied because intervention would prejudice

Defendants by interfering with the Department of Justice’s control of government litigation. The

Attorney General—not private entities—is empowered to control “litigation in which the United

States, an agency, or officer thereof is a party.” 28 U.S.C. § 516; see United States v. Associated Milk

Producers, Inc., 534 F.2d 113, 117 (8th Cir. 1976) (“It is axiomatic that the Attorney General must retain

considerable discretion in controlling government litigation and in determining what is in the public

interest.”); cf. Saldano v. Roach, 363 F.3d 545, 555 (5th Cir. 2004) (recognizing the Texas Attorney

General’s interest in maintaining control over the State’s criminal cases in rejecting request for

intervention by a Texas district attorney). Further, the Solicitor General of the United States is charged

with “[d]etermining whether, and to what extent, appeals will be taken by the Government.” 28 C.F.R.

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§ 0.20(b). The Fifth Circuit has recognized that when an intervenor obtains “full party rights,” “the

control of the original parties over their own lawsuit is significantly diminished.” NOPSI, 732 F.2d at

473. In an APA case challenging a federal agency’s statutory authority to promulgate a regulation, the

federal government should control the course of the litigation and any future appeals, not private

parties. See id. (denying intervention where addition of intervenor could prevent the original “parties

from simply accepting a judgment of the district court by allowing it to become final without appeal”).

Granting intervention would undermine these important federal interests.

        Even if Putative Intervenors satisfied the minimum requirements for permissive intervention,

this Court would have substantial discretion to deny their request. See id. at 470-71 (explaining that

even where the requirements of Rule 24(b) are satisfied, “[p]ermissive intervention is wholly

discretionary with the [district] court” (citations omitted)). In addition to the reasons set forth above,

courts may also consider whether “the intervenor’s presence is likely to provide significant

contributions to the development of the underlying factual issues.” Texas, 2021 WL 411441, at *1.

This factor weighs against permissive intervention, as Putative Intervenors have no role in developing

the factual record, as this action should be decided based on the administrative record that Defendants

have already produced. “[T]he function of the district court [in APA cases] is to determine whether

or not as a matter of law the evidence in the administrative record permitted the agency to make the

decision it did.” Britto v. Bureau of Alcohol, Tobacco, Firearms and Explosives, 2023 WL 11957195, at *5

(N.D. Tex. Apr. 14, 2023) (citations omitted). “[T]he entire case on review is a question of law, and

only a question of law.” Id. (citations omitted). To the extent Putative Intervenors wish to present

“new arguments to this Court,” they “may participate through amicus curiae submissions.” Id. But they

are not needed to develop the factual record.

        Courts also routinely deny intervention where, as here, the litigation would “unnecessarily

become more complex,” Aransas Project v. Shaw, 404 Fed. Appx. 937, 942 (5th Cir. 2010), “without any

added benefit,” Nipponkoa Ins. Co., Ltd. v. Port Terminal R.R. Ass’n, 2011 WL 1103584, at *2 (S.D. Tex.

Mar. 23, 2011); see Gulf Island Shipyards, LLC v. LaShip, LLC, 2023 WL 372083, at *6 (E.D. La. Jan. 24,

2023) (explaining that “allowing a permissive intervention when the proposed intervenor and existing

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party share the same goal, it ‘unnecessarily expands the nature of [the] proceeding” (citation omitted)).

While adding an additional set of defendants would complicate this lawsuit, there is no obvious benefit

in adding Putative Intervenors as defendants.

        Accordingly, the Court should exercise its discretion to deny permissive intervention.

                                           CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court deny the motion to

intervene at this time without prejudice to refiling if there is a material change in circumstances.

Defendants have no objection to Putative Intervenors participating in this case as amicus curiae.


Dated: April 22, 2025                           Respectfully submitted,

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                                                /s/ Taylor Pitz
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                                   CERTIFICATE OF SERVICE

        On April 22, 2025, I electronically submitted the foregoing document with the Clerk of Court

for the U.S. District Court, Southern District of Texas, using the Court’s electronic case filing system.

I hereby certify that I have served all parties electronically or by another manner authorized by Federal

Rule of Civil Procedure 5(b)(2).


                                                        /s/ Taylor Pitz
                                                        TAYLOR PITZ
                                                        Trial Attorney
                                                        U.S. Department of Justice




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